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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   Counsel Designated for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Seeking Appointment as Attorney for Defendant
 6   CHARLES DEMARIO JOHNSON
 7
 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )         No. Cr. S 07-483 LKK
12                                   )
                    Plaintiff,       )         REQUEST FOR APPOINTMENT OF
13                                   )         COUNSEL; ORDER
          v.                         )
14                                   )         RETROACTIVE CRACK COCAINE
     CHARLES DEMARIO JOHNSON,        )         REDUCTION CASE
15                                   )
                    Defendant.       )
16                                   )         Judge: Hon. LAWRENCE K. KARLTON
     _______________________________ )
17
          Pursuant to 18 U.S.C. §§ 3006A(c) and 3852(c)(2), Defendant,
18
     CHARLES DEMARIO JOHNSON, hereby requests the Court appoint the Office
19
     of the Federal Defender and Assistant Federal Defender David M. Porter
20
     as counsel to represent him with respect to his motion to reduce
21
     sentence, filed August 8, 2011.*         Mr. Porter is familiar with the case
22
     and is willing to accept the appointment.
23
          Appointment of counsel would serve the interests of justice in
24
     this case because it might facilitate a negotiated disposition of the
25
     motion.     Because Mr. Johnson’s substantial rights may be affected by
26
27        *
            The pro se motion was filed on a form invoking 28 U.S.C. § 2255
     but the relief Mr. Johnson seeks is clearly governed by 18 U.S.C.
28   § 3582(c)(2).
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 1   these criminal proceedings, he is constitutionally entitled to
 2   appointment of counsel.        Mempa v. Rhay, 389 U.S. 128, 134 (1967).
 3        Accordingly, Mr. Johnson requests the Court issue the order lodged
 4   herewith.
 5   Dated:     October 6, 2011
 6                                  Respectfully submitted,
 7                                  DANIEL J. BRODERICK
                                    Federal Defender
 8
 9                                    /s/ David M. Porter
                                    DAVID M. PORTER
10                                  Assistant Federal Defender
11                                  Seeking Appointment as Attorney for Movant
                                    CHARLES DEMARIO JOHNSON
12
13
                                           O R D E R
14
          Pursuant to defendant’s request, and good cause appearing
15
     therefor, the Office of the Federal Defender and Assistant Federal
16
     David M. Porter is hereby appointed to represent defendant with respect
17
     to his motion to reduce sentence.
18
     DATED: October 7, 2011
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28

     REQUEST FOR COUNSEL
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